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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )
                    Plaintiff,               )
                                             )                  8:05CR259
      vs.                                    )
                                             )                    ORDER
CORY JAMES SHIFFLETT,                        )
                                             )
                    Defendant.               )


       Defendant has filed a motion (#87) to continue trial, now set for February 21, 2006.
The February 21 trial date was set nearly two months ago, and the court believes that the
parties have been given adequate time to conduct plea negotiations. The court's calendar
cannot accommodate the defendant's request.

      IT IS ORDERED that defendant's motion to continue trial (#87) is denied.

      DATED February 13, 2006.

                                         BY THE COURT:

                                         s/ F.A. Gossett
                                         United States Magistrate Judge
